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15
16                          UNITED STATES DISTRICT COURT
17                        SOUTHERN DISTRICT OF CALIFORNIA
18
19   IN RE: QUALCOMM                       No. 3:17-CV-0108-GPC-MDD
     LITIGATION                            QUALCOMM INCORPORATED’S
20
                                           REPLY IN FURTHER SUPPORT OF
21                                         ITS DAUBERT MOTION NO. 2 TO
22                                         EXCLUDE PORTIONS OF THE
                                           EXPERT REPORT OF PAUL K.
23                                         MEYER AND TO FORBID IMPROPER
24                                         EXTRAPOLATION OF
                                           DR. VALENTI’S OPINIONS
25                                         Judge:     Hon. Gonzalo P. Curiel
26                                         Courtroom: 2D
                                           Date:      March 21, 2019
27                                         Time:      1:30 p.m.
28

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 1             Apple and the CMs (“Apple”) defend Mr. Meyer’s two-sentence analysis by
 2   blaming the discovery process for his flawed methodology and by insisting that
 3   Qualcomm believes most of its portfolio is worthless. Neither argument has merit, and
 4   Mr. Meyer’s proposed testimony should be excluded.
 5                                            ARGUMENT
 6   I.        Apple’s Complaints About the Discovery Process Are Irrelevant and Wrong.
 7             Apple does not meaningfully dispute the key flaws in Mr. Meyer’s methodology.
 8   Apple does not deny that he applies U.S. patent laws to foreign patents without offering
 9   any basis. Apple does not deny that he ignores the majority of the licensed IP rights and
10   extrapolates from cellular SEPs to other categories of IP rights, without any basis for
11   doing so. And Apple does not deny that he equates the value of purportedly exhausted
12   U.S. cellular SEPs with the value of unexhausted IP rights elsewhere in the world, again
13   without any basis.
14             Instead, Apple blames Qualcomm and the discovery process for the shortcomings
15   of Mr. Meyer’s analysis. But that is no answer. Rule 702 requires that expert testimony
16   be “based on sufficient facts or data”, be “the product of reliable principles and methods”,
17   and have “reliably applied the principles and methods to the facts of the case.” Fed. R.
18   Evid. 702. That is true “no matter how burdensome or difficult collecting relevant data
19   or devising methods to apply to that data may be”. Laumann v. Nat’l Hockey League,
20   117 F. Supp. 3d 299, 315 (S.D.N.Y. 2015) (excluding expert testimony where a “dearth
21   of data” led to “nonsensical results”). Apple would have the Court invent a new, more
22   lenient Rule 702 for Mr. Meyer. The Court should decline.
23             The truth is that the parties conducted sweeping discovery of Qualcomm’s
24   portfolio. Qualcomm produced millions of documents, made over 70 of its current and
25   former employees available for depositions, and provided over 1,000 pages of expert
26   reports regarding Qualcomm’s portfolio.1 Qualcomm also identified tens of thousands of
27
28        1
              March 8, 2019 Declaration of Anders Linderot (“Linderot Decl.”) ¶ 4.
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 1   specific U.S. and foreign patents expressly licensed to the CMs. (See Opp’n 1.) Mr.
 2   Meyer simply ignored the vast majority of them. Given all this discovery, Magistrate
 3   Judge Dembin rightly denied Apple’s demands for even more discovery as overly
 4   burdensome and unnecessary. (See ECF 381; ECF 407; ECF 506; ECF 507.)
 5   II.       Apple’s Other Assertions in Defense of Mr. Meyer’s Opinions Are Wrong.
 6             Apple tries to rescue Mr. Meyer’s methodology with a series of false assertions.
 7             First, Apple claims that Qualcomm does not believe any of its foreign patents have
 8   any value. (Opp’n 4-7.) That is false. Qualcomm acquired tens of thousands of foreign
 9   patents because they have value; patents are territorial, and foreign patents grant
10   Qualcomm valuable rights to control the use of those inventions in foreign jurisdictions.
11   Numerous Qualcomm licensees operate entirely outside the U.S. and pay royalties solely
12   for the use of Qualcomm’s foreign patents. In fact, Qualcomm has an entire licensing
13   program devoted to licensing only Chinese cellular SEPs, and about 200 companies have
14   signed up so far. (Linderot Decl. ¶ 5.) Qualcomm has also successfully asserted a
15   number of foreign non-SEPs against Apple, with courts in Germany and China recently
16   issuing injunctions against Apple as a result. 2
17             Second, “[e]ven if Qualcomm did value its foreign patents”, Apple says, a U.S.
18   exhaustion opinion is a “reasonable proxy” for a foreign one. (Opp’n 7.) But Apple
19   offers the same factual and legal basis for this statement that Mr. Meyer did—none. And
20   it is Apple’s burden to establish a reliable basis for Mr. Meyer’s testimony, not
21   Qualcomm’s. Compare Brighton Collectibles, Inc. v. RK Tex. Leather Mfg., 923 F. Supp.
22   2d 1245, 1256 (S.D. Cal. 2013) (Curiel, J.), with Opp’n 7 (“Qualcomm has not shown it
23   is objectively unreasonable to extrapolate the ratio of exhausted U.S. patents to foreign
24   patents.”).
25             Apple cannot articulate why it is permissible for Mr. Meyer to stretch Dr. Valenti’s
26
27         2
         See, e.g., Qualcomm Inc. v. Apple Comput. Trading (Shanghai) Co., (2018) Min 01
     Min Chu No. 1208 Zhi Yi (FIPC Nov. 20, 2018) (China); Landgericht [LG] München I
28   [Munich I Regional Court], Dec. 20, 2018, Case No. 7 O 10496/17 (Ger.).
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 1   U.S. substantial-embodiment opinion to cover foreign patents without so much as
 2   glancing at a single foreign patent or considering whether exhaustion even exists as a
 3   defense in foreign jurisdictions. The world’s patent laws are not interchangeable.
 4   Different patent laws “may embody different policy judgments about the relative rights of
 5   inventors, competitors, and the public in patented inventions.” Halo Elecs., Inc. v. Pulse
 6   Elecs., Inc., 831 F.3d 1369, 1379 (Fed. Cir. 2016). Patent laws change over time, as new
 7   legislative and judicial decisions are made. Apple knows all of that; that is why Apple
 8   successfully opposed Qualcomm’s Motion for Anti-Suit Injunction, in part, on the ground
 9   that U.S. exhaustion claims would not resolve foreign exhaustion claims. (ECF 108 at 1.)
10   And the Court agreed. (ECF 141 at 22, 26.)
11         Third, Apple claims that Qualcomm does not believe any of its IP other than
12   cellular SEPs has any value. (Opp’n 4-7.) That is untenable. For years, the CMs paid
13   royalties to Qualcomm not only for its cellular SEPs, but also for its non-cellular SEPs,
14   non-SEPs, and other intellectual property rights (collectively, “Other IP”). (Mot. 7.)
15   Five Qualcomm expert witnesses submitted reports regarding 150 valuable non-SEPs.
16   (See Ex. 18 ¶ 167; Ex. 19 ¶ 187; Ex. 20 ¶¶ 386, 390; Ex. 21 ¶ 895; Ex. 22 ¶ 413.)
17   Qualcomm’s fact and expert witnesses consistently testified that its Other IP is valuable.
18   (See, e.g., Ex. 23 at 1537-39 (Qualcomm’s Liren Chen testifying that Qualcomm
19   discusses non-cellular SEPs and non-SEPs in licensing negotiations because they are
20   valuable); Ex. 24 at 213:4-214:17; Ex. 25 at 257:11-258:8.) That some fact witnesses
21   testified they did not know exactly how valuable is beside the point. (See Opp’n 5-6
22   (quoting                     depositions).)
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 5   And after a Chinese court issued an injunction against Apple for infringing Qualcomm’s
 6   non-SEPs, Apple admitted that “[n]umerous smartphones on the market” use
 7   Qualcomm’s non-SEPs, and that consumers have “already come to rely on [Qualcomm’s]
 8   technical solutions.” (Ex. 27 at 7.)
 9         Fourth, Apple claims that Mr. Meyer reasonably assumes that “the value of
10   Qualcomm’s exhausted SEPs is equivalent to the value of its non-exhausted SEPs.”
11   (Opp’n 7.) Even if those were the limits of his assumption, he offers no basis for it, and
12   there is none.
13         It is undisputed that different patents can have different values. Mr. Meyer has
14   repeatedly testified as much, even regarding cellular SEPs. (See, e.g., Ex. 28 at 1484
15   (Mr. Meyer, regarding two patents potentially essential to 3G: “I wouldn’t want you to
16   think that every patent has the same value. They don’t. They can have different values
17   and that’s an expertise I don’t have . . . .”).) Apple cannot escape that conclusion by
18   pointing at an old
19
20                In fact, in its Motion in Limine No. 1, Apple quoted Limelight Networks,
21   Inc. v. XO Communications, LLC for the proposition that “different patents have different
22   values”. No. 3:15-CV-720-JAG, 2018 WL 678245, at *7 (E.D. Va. Feb. 2, 2018); ECF
23   845 at 2. What Apple omitted is what came next in that sentence—that Mr. Meyer’s
24   testimony was excluded under Daubert for that very reason: “Meyer recognized at the
25   evidentiary hearing that different patents may have highly varying values. Meyer’s even-
26   division method fails because it simply ignores facts in this case that Meyer himself
27   recognizes—that different patents have different values.” 2018 WL 678245, at *7. As
28   the Limelight court explained:
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 1          “At the hearing, Meyer made an analogy to a carton of eggs, finding it reasonable
            to assume that each egg within the carton had equal value in the absence of other
 2          information. Meyer, however, acknowledges that different patents can have vastly
 3          different values. Because he did not perform any analysis of the other patented
            technology involved in the prior transaction, Meyer values the closed carton
 4          without opening it to see if any eggs are broken, spoiled, or made of gold. This
 5          methodological flaw lacks reliability and Meyer cannot present it to a jury.” Id. at
            *7 n.13.
 6
 7   So too here. Mr. Meyer did not perform any analysis of whether exhausted SEPs are, on
 8   average, equal in value to unexhausted SEPs. He never opened the carton.
 9          But Mr. Meyer’s assumption is not limited to U.S. cellular SEPs. Mr. Meyer’s
10   actual—and even less plausible—assumption is that the average exhausted U.S. cellular
11   SEP is equal in value to the average unexhausted IP right anywhere in the world. He, of
12   course, provides no basis for this assumption, and neither does Apple.
13          Finally, Apple attacks a strawman, insisting that Qualcomm moves here “to
14   preclude the jury from considering Dr. Valenti’s opinion”. (Opp’n 9.) It does not. As
15   Qualcomm’s Motion makes clear: “Apple and the CMs should be precluded from
16   inviting the jury to employ Mr. Meyer’s invalid methodology on their own. The
17   extrapolation is contrary to fact and law whether performed by Mr. Meyer, by another
18   expert, or by the jury at counsel’s request.” (Mot. 9.) Only in a footnote on the final
19   page does Apple acknowledge Qualcomm’s actual request.3 (Opp’n 10 n.5.) But the best
20   Apple can muster is ipse dixit, claiming that Mr. Meyer’s extrapolations are “reasonable”.
21   (Id.) His extrapolations are demonstrably unreasonable, and Apple should be precluded
22   from inviting the jury to recreate them.
23                                         CONCLUSION
24          Qualcomm’s Motion should be granted.
25      3
           Apple also cites Quanta Computer, Inc. v. LG Electronics Inc., 553 U.S. 617
26   (2008), because it supposedly supports Apple’s assertion that “FRAND royalties must be
     based on, among other things, patents that are not exhausted.” (Opp’n at 10.) But
27   Quanta does no such thing. It was not about SEPs, and it was not about FRAND. And as
     for contract rights to royalties, Quanta observed that an exhaustive sale “does not
28   necessarily limit [the licensor’s] other contract rights”. Id. at 637 n.7.

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 1                               CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on March 8, 2019, to all counsel of record who are
 4   deemed to have consented to electronic service via the Court’s CM/ECF system per Civil
 5   Local Rule 5.4(d). Any other counsel of record will be served by electronic mail,
 6   facsimile and/or overnight delivery.
 7         I certify under penalty of perjury that the foregoing is true and correct. Executed
 8   on March 8, 2019, at New York, New York.
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